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                           UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA


                        Plaintiff,
                                                  Civil Action No.: 4:20-cv-01383-MWB
               vs.

EVANGELICAL COMMUNITY
HOSPITAL

and

GEISINGER HEALTH,

                        Defendants.



                           COMPETITIVE IMPACT STATEMENT

       The United States of America, under Section 2(b) of the Antitrust Procedures and

Penalties Act, 15 U.S.C. § 16(b)–(h) (the “APPA” or “Tunney Act”), files this Competitive

Impact Statement relating to the proposed Final Judgment submitted for entry in this civil

antitrust proceeding.

                 I.      NATURE AND PURPOSE OF THE PROCEEDING

       Defendant Geisinger Health (“Geisinger”) and Defendant Evangelical Community

Hospital (“Evangelical”) entered into a partial-acquisition agreement (the “Collaboration

Agreement”) dated February 1, 2019, pursuant to which Geisinger would, among other things,

acquire 30% of Evangelical. The United States filed a civil antitrust Complaint on August 5,

2020, seeking to rescind and enjoin the Collaboration Agreement. The Complaint alleged that

the likely effect of Geisinger’s partial acquisition of Evangelical would be to substantially lessen
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competition and unreasonably restrain trade in the market for the provision of inpatient general

acute-care services in a six-county region in central Pennsylvania, in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1, and Section 7 of the Clayton Act, 15 U.S.C. § 18.

       Before Defendants responded to the Complaint, the United States filed a Stipulation and

Order and proposed Final Judgment, which are designed to remedy the loss of competition

alleged in the Complaint. Under the proposed Final Judgment, which is explained more fully

below, Geisinger is required to cap its ownership interest in Evangelical at 7.5%, and Defendants

are required to eliminate other entanglements between them that would allow Geisinger to

influence Evangelical. Defendants are also each required to establish robust antitrust compliance

programs.

       The United States and Defendants have stipulated that the proposed Final Judgment may

be entered after compliance with the APPA. Entry of the proposed Final Judgment will

terminate this action, except that the Court will retain jurisdiction to construe, modify, or enforce

the provisions of the proposed Final Judgment and to punish violations thereof.

   II. DESCRIPTION OF EVENTS GIVING RISE TO THE ALLEGED VIOLATION

       A.      Defendants

       Geisinger is a non-profit corporation organized and existing under the laws of the

Commonwealth of Pennsylvania with its headquarters in Danville, Pennsylvania. Geisinger is a

regional healthcare provider of hospital and physician services that operates twelve hospitals and

owns physician practices throughout central Pennsylvania. It also operates a health insurance

company, Geisinger Health Plan, which offers commercial health insurance, Medicare, and

Medicaid products. Geisinger’s annual revenue in 2019 was approximately $7.1 billion.



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       Evangelical is a non-profit corporation organized and existing under the laws of the

Commonwealth of Pennsylvania with its headquarters in Lewisburg, Pennsylvania. Evangelical

operates a 132-bed independent community hospital, owns a number of physician practices, and

operates an urgent-care center and several other outpatient facilities in central Pennsylvania.

Evangelical’s annual revenue in 2019 was approximately $259 million.

       B.      The Collaboration Agreement

       On February 1, 2019, Geisinger and Evangelical entered into the Collaboration

Agreement, pursuant to which Evangelical agreed to give Geisinger a 30% ownership interest.

In exchange, Geisinger agreed to pay $100 million to Evangelical over the next several years for,

among other things, Geisinger-approved investment projects, future investment projects that

Geisinger had the right to approve, and intellectual property licensing.

       Furthermore, Geisinger’s contemplated investment in Evangelical would not have been

passive: the Collaboration Agreement created additional entanglements between these two

competitors and provided Geisinger with opportunities to influence Evangelical. For example,

the Collaboration Agreement gave Geisinger rights of first offer and first refusal with respect to

any future joint venture, competitively significant asset sale, or change-of-control transaction by

Evangelical. It also gave Geisinger the right to approve Evangelical’s use of certain funds

provided by Geisinger. Additionally, the Collaboration Agreement provided mechanisms for

Geisinger and Evangelical to share competitively sensitive information, such as requiring

Evangelical to disclose business plans when requesting disbursement of certain funds and

requiring Evangelical to inform Geisinger about planned transactions with other hospital systems

before any such transactions were executed.



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          The Collaboration Agreement originally included other provisions granting Geisinger

additional influence over Evangelical, which Defendants eliminated through several amendments

during the course of the United States’ investigation but before the United States filed its

Complaint. For example, the Collaboration Agreement originally included provisions that gave

Geisinger the right to appoint six individuals to Evangelical’s board of directors as well as

certain consultation rights on the appointment of Evangelical’s chief executive officer. It also

contained provisions that required Defendants to discuss and work toward joint ventures in

service lines where they have historically competed, such as women’s health and

musculoskeletal care, and also required Geisinger to compensate Evangelical for certain financial

losses.

          C.     Anticompetitive Effects of the Partial Acquisition

          Defendants are two of the largest hospitals in a six-county region in central Pennsylvania.

The vast majority of consumers of inpatient general acute-care services in and around Danville

and Lewisburg, Pennsylvania, rely on Geisinger and Evangelical for their care. Together, the

two hospitals account for approximately 71% of this six-county market and are each other’s

closest competitors for many services. Geisinger and Evangelical compete head-to-head for

patients—including through investment in high-quality facilities and services, in negotiations

with insurers, and through discounts to uninsured patients—and consumers have benefited from

this competition through increased quality of care, broader availability, and lower costs.

          As alleged in the Complaint, the partial acquisition of Evangelical by Geisinger resulting

from the Collaboration Agreement would have created significant entanglements between

Defendants, likely leading to increased coordination between them, higher prices, lower quality,

and reduced access to inpatient general acute-care services in central Pennsylvania.
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               1.      The Relevant Market

       As alleged in the Complaint, the provision of inpatient general acute-care services is a

relevant product market. Inpatient general acute-care services encompass a broad cluster of

inpatient medical and surgical diagnostic and treatment services that require an overnight

hospital stay, including many orthopedic, cardiovascular, women’s health, and general surgical

services. The relevant market excludes outpatient services, which generally do not require an

overnight hospital stay and are provided in settings other than hospitals. The vast majority of

patients who use inpatient general acute-care services would not switch to outpatient services in

response to a price increase. The relevant market also excludes more specialized services, such

as advanced cancer services and organ transplants, which Evangelical does not offer.

       As alleged in the Complaint, the relevant geographic market for the sale of inpatient

general acute-care services is no larger than the six-county area that comprises the Pennsylvania

counties of Union, Snyder, Northumberland, Montour, Lycoming, and Columbia. This area

includes the cities of Danville and Lewisburg, where Geisinger Medical Center and Evangelical

are respectively located. In general, patients choose to seek medical care close to their homes or

workplaces, and residents of the six-county area alleged in the Complaint also generally prefer to

obtain inpatient general acute-care services locally. As a result, health insurers that offer

healthcare networks in the six-county area generally do not consider hospitals outside of that area

to be reasonable substitutes in their networks for hospitals within that area. Because residents in

the six-county area strongly prefer to obtain inpatient general acute-care services from within the

six-county area, a health plan that did not have hospitals within the six-county area likely could

not successfully attract employers and patients in the area.



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               2.      The Effects of the Collaboration Agreement on Competition

       Geisinger and Evangelical are, respectively, the largest health system and largest

independent community hospital in a six-county region in central Pennsylvania. For many

patients in this region, Geisinger and Evangelical are close substitutes for the provision of

inpatient general acute-care services

       Robust competition between hospitals is important to American consumers. Hospitals

such as Geisinger and Evangelical compete to be included in health insurers’ networks and to

attract patients by offering high-quality care, lower prices, and increased access to services.

Geisinger and Evangelical, like other hospitals, also compete to provide superior amenities,

convenience, customer service, and attention to patient satisfaction and wellness. The

Collaboration Agreement would negatively impact all of those facets of competition to the

detriment of consumers in central Pennsylvania.

                       a. The Collaboration Agreement Would Create Financial Entanglements
                          Between Defendants

       Under the Collaboration Agreement, Geisinger would have acquired a 30% interest in

Evangelical, its close rival. In exchange, Geisinger committed to pay $100 million to

Evangelical over the next several years and would have remained a critical source of funding to

Evangelical for the foreseeable future. This arrangement would establish an indefinite

partnership between Evangelical and Geisinger, fundamentally altering their relationship as

competitors and curtailing their incentives to compete independently for patients. As a result,

Evangelical would be likely to avoid competing to enhance the quality or scope of the services it

offers because they would attract patients from Geisinger, its part owner. It would also reduce

Geisinger’s incentives to compete by investing in improvements that would attract patients from


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Evangelical. For example, if Geisinger were to expand its offerings or improve the quality of its

services in areas in which it competes with Evangelical, it would attract patients at Evangelical’s

expense, reducing the value of Geisinger’s 30% interest in Evangelical. As a result of the partial

acquisition, both Defendants would have an incentive to pull their competitive punches.

       If implemented, the Collaboration Agreement would also likely lead to Geisinger raising

prices to commercial insurers and other purchasers of inpatient general acute-care services,

resulting in harm to consumers. Before the partial acquisition, in the event of a contracting

disagreement with an insurer, Geisinger risked losing patients to Evangelical, and this risk of loss

disciplined the pricing that Geisinger negotiated with insurers. The same disciplining effect

would occur when Geisinger raised prices to uninsured patients: in response to a price increase,

Geisinger risked the uninsured patient moving to Evangelical for care, a result which would keep

Geisinger from raising price. After it secured a 30% ownership interest in Evangelical,

Geisinger would benefit to some degree when patients choose Evangelical over Geisinger for

inpatient general acute-care services, since greater profits for Evangelical would increase the

value of Geisinger’s ownership interest in Evangelical. This ability to recapture a significant

portion of the value of lost patients through its ownership of Evangelical would give Geisinger

increased market power to charge higher prices to uninsured patients and greater bargaining

leverage in negotiations over reimbursement rates with insurers. Insurers who pay higher

reimbursement rates to Geisinger would pass along higher healthcare costs to consumers.

                       b.     The Collaboration Agreement Would Give Geisinger Undue
                              Influence Over Evangelical

       The Collaboration Agreement would give Geisinger the ability to influence and exert

control over Evangelical and how Evangelical competes in central Pennsylvania. In addition to


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the influence gained by virtue of Geisinger’s $100 million investment and 30% ownership

interest in Evangelical, the Collaboration Agreement would give Geisinger influence over

Evangelical’s ability to partner with others in the future. Geisinger would have rights of first

offer and first refusal with respect to several types of transactions that Evangelical may wish to

pursue, including any future joint venture between Evangelical and another entity, any

competitively significant asset sale by Evangelical, and any transaction involving a change-of-

control of Evangelical. These provisions would provide Geisinger with advance notice of

Evangelical’s competitive plans and the opportunity to interfere with Evangelical’s ability to

engage in such transactions, and thus deter potentially procompetitive collaborations between

Evangelical and other healthcare entities that compete with Geisinger—arrangements that could

otherwise benefit patients and the community.

       The Collaboration Agreement would also enable Geisinger to influence Evangelical

through Geisinger’s right to approve or deny Evangelical’s use of certain funds provided by

Geisinger, as Geisinger could withhold that approval if the expenditure threatened Geisinger’s

business. The Collaboration Agreement also included other entanglements, such as providing

Evangelical with perpetual licenses to Geisinger’s IT systems at no cost to Evangelical and

proposing joint ventures in service lines such as women’s health and musculoskeletal care, where

Geisinger and Evangelical have historically competed. Maintaining these entanglements would

reduce the incentives for Geisinger and Evangelical to compete aggressively on the quality,

scope, and availability of inpatient general acute-care services.




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                        c.      The Collaboration Agreement Would Enable the Sharing of
                                Competitively Sensitive Information

          The Collaboration Agreement also provided the means and opportunity for Defendants to

share competitively sensitive information. Under its terms, Evangelical was required to inform

Geisinger about partnerships, joint ventures, and transactions with other healthcare entities

before those transactions were executed so that Geisinger would have the opportunity to invoke

its rights of first refusal or first offer. The Collaboration Agreement further required that, when

Evangelical requested that Geisinger disburse funds from its $100 million commitment for

strategic projects, Evangelical would be required to provide Geisinger with supporting business

plans, and Geisinger could grant or withhold approval for certain capital projects. These

requirements would enable Geisinger to secure important forward-looking information about

Evangelical’s plans to compete with Geisinger. Requiring Evangelical to give Geisinger a

preview of its future competitive endeavors would likely soften competition between Geisinger

and Evangelical, diminish Evangelical’s incentives to innovate and expand, and impede

Evangelical’s ability to enter into strategic alliances with others to compete with Geisinger in the

future.

                        d.      Entry or Expansion is Difficult

          Entry of new competitors or expansion of existing competitors is unlikely to prevent or

remedy the anticompetitive effects of the Transaction. The construction of a new hospital that

offers inpatient general acute-care services in the relevant geographic market would require

significant time, expenditures, and risk. In the six-county region where Defendants compete, no

new hospitals have been built for more than ten years, and one closed in March 2020. Entry by a




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new hospital in the relevant market is unlikely due to declining demand for inpatient general

acute-care services and low population growth.

            III.   EXPLANATION OF THE PROPOSED FINAL JUDGMENT

       The purpose of the proposed Final Judgment is to remedy the loss of competition alleged

in the Complaint and to ensure Evangelical and Geisinger remain independent competitors. The

relief required by the proposed Final Judgment will remedy the loss of competition alleged in the

Complaint by ensuring that Evangelical remains an independent competitor in the market for

inpatient general acute-care services in central Pennsylvania. The proposed Final Judgment will

restore competition by: (1) capping Geisinger’s ownership interest in Evangelical; (2) preventing

Geisinger from exerting control or influence over Evangelical; and (3) prohibiting Geisinger and

Evangelical from sharing competitively sensitive information—all of which will restore

Defendants’ incentives to compete with each other on quality, access, and price. At the same

time, the proposed Final Judgment permits Evangelical to use Geisinger’s passive investment for

specific projects that will benefit patients and the community. Finally, Defendants are required

to institute antitrust compliance programs.

       A.      Reduction of Ownership Interest and Investment

       First and foremost, the proposed Final Judgment caps Geisinger’s ownership interest in

Evangelical to a 7.5% passive investment. Paragraph IV.A. renders the Collaboration

Agreement, including its provision for Geisinger to obtain a 30% ownership interest in

Evangelical, null and void. In its place, Defendants have entered into an Amended and Restated

Collaboration Agreement that is consistent with the terms of the proposed Final Judgment.

Paragraph IV.B.2. prohibits Geisinger from increasing its ownership interest in Evangelical

above the 7.5% cap that was obtained in exchange for the approximately $20.3 million already
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paid by Geisinger to Evangelical, and Paragraph IV.B.3. prohibits Geisinger from making any

loan or providing any line of credit to Evangelical. Paragraph V.A. of the proposed Final

Judgment permits Evangelical to use the $20.3 million it has already received from Geisinger

only for two specified projects, improving Evangelical’s patient rooms and sponsoring a local

center for recreation and wellness. Under Paragraph IV.F., Defendants may not amend the

Amended and Restated Collaboration Agreement without the consent of the United States.

       In addition, by limiting Geisinger’s ownership interest in Evangelical and prohibiting

Geisinger from making any loans to Evangelical, Paragraphs IV.B.2. and IV.B.3. of the proposed

Final Judgment restore Geisinger’s incentives to compete on price in negotiations with

commercial insurers. Limiting the ownership interest and prohibiting loans substantially reduces

any bargaining leverage Geisinger would gain from recapturing the profits from any patients lost

to Evangelical. Similarly, these provisions preserve Defendants’ incentives to compete

aggressively with each other as they have in the past for the business of uninsured consumers.

       As applied to the facts alleged in the Complaint, the limitations imposed on Geisinger’s

ownership interest and investment in Evangelical—along with the removal of significant

entanglements between the Defendants discussed below—render Geisinger’s interest passive,

eliminate mechanisms for Geisinger to influence its smaller competitor, and restore the

incentives of both hospitals to continue to compete with one another to provide inpatient general

acute-care services for the benefit of patients and health insurers. Following entry of the

proposed Final Judgment, Geisinger will not be in a position to prevent other healthcare entities

from acquiring or partnering with Evangelical, and Geisinger’s limited investment will benefit

patients and the community by partially financing Evangelical’s modernization of its patient

rooms and providing funding for wellness and recreation at the Miller Center.
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       B.      Prohibitions Against Geisinger’s Influence and Control Over Evangelical

       The Collaboration Agreement contained numerous provisions that gave Geisinger the

ability to influence and control its close competitor, Evangelical, through management positions

and other means. For example, as originally crafted, the Collaboration Agreement gave

Geisinger the right to appoint six members to Evangelical’s board of directors. The proposed

Final Judgment prohibits attempts to reinstate such provisions during the ten-year term of the

proposed Final Judgment in order to prevent Geisinger from exerting influence or control over

Evangelical in the future.

       Paragraphs IV.B.1. and IV.C. of the proposed Final Judgment, respectively, prevent

Geisinger from appointing any directors to Evangelical’s board of directors and prevent

Evangelical from appointing any directors to the board of directors of Geisinger or Geisinger

Health Plan. Paragraph IV.B.4. prevents Geisinger from obtaining any management or

leadership position with Evangelical that would provide Geisinger with the ability to influence

the strategic or competitive decision-making at Evangelical. Paragraph IV.D. prevents

Defendants from consulting with each other regarding decisions to employ individuals in

executive-level positions. These provisions in the proposed Final Judgment prevent Geisinger

from exercising influence over Evangelical through participation in its governance, management,

or strategic decision-making, which would render Evangelical a less independent competitor.

       The proposed Final Judgment also prohibits Geisinger from otherwise influencing

Evangelical, preserving its competitive independence. Paragraph IV.B.5. of the proposed Final

Judgment prevents Geisinger from maintaining or obtaining any right of first offer or first refusal

regarding any proposal or offer to Evangelical, including proposals to enter into future joint

ventures with other entities, competitively significant asset sales, or change-of-control
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transactions by Evangelical. As alleged in the Complaint, having rights of first offer and first

refusal would enable Geisinger to interfere if Evangelical attempted to enter into such

transactions and would deter collaborations between Evangelical and other entities. Prohibiting

the use of such rights eliminates an entanglement between Geisinger and Evangelical that would

reduce Evangelical’s incentive and ability to compete vigorously.

       Paragraph IV.B.6. prohibits Geisinger from controlling Evangelical’s expenditure of

funds, including Evangelical’s choice of strategic project investments. Paragraph IV.B.6. also

prohibits Geisinger from providing a guaranty to Evangelical against any financial losses. In

addition, Paragraph IV.B.3. prohibits Geisinger from making a loan or extending a line of credit

to Evangelical. These provisions ensure Evangelical’s financial independence. Paragraph

IV.B.7. prohibits Geisinger from licensing its information technology systems to Evangelical

without the consent of the United States, except for information technology systems and support

permitted under Paragraph V.B., subject to a firewall to prevent the sharing of competitively

sensitive information. These provisions enable Evangelical to improve its hospital operations

and patient care in order to be a more effective competitor while limiting Geisinger’s ability to

influence Evangelical.

       Finally, to maintain their competitive independence, Paragraph IV.E. prevents

Defendants from entering into any joint ventures with each other, including those contemplated

in the Collaboration Agreement in certain service lines where Defendants historically competed,

and from renewing, extending, or amending their joint venture to operate a recreation and

wellness center called the Miller Center in Lewisburg, Pennsylvania, without the prior written

consent of the United States. Exempted from this prohibition, however, are the renewal or

extension of two joint ventures already in place—Evangelical-Geisinger, LLC, a joint venture
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between Geisinger and Evangelical to provide student health services to Bucknell University and

the Keystone Accountable Care Organization, LLC, an organization of doctors, hospitals, and

other providers, that provides coordinated care to Medicare Patients. Defendants, however, may

not otherwise amend these two pre-existing joint ventures without the prior written consent of

the United States.

       Collectively, these provisions in the proposed Final Judgment remove Geisinger’s ability

to exercise influence or control over Evangelical. Defendants’ incentives to compete with each

other are preserved by eliminating all of Geisinger’s rights to influence or control decision-

making at Evangelical, removing other entanglements from the Collaboration Agreement, and

capping Geisinger’s equity stake in Evangelical to a 7.5% passive investment. The terms of the

proposed Final Judgment maintain Evangelical’s independence as a competitor, substantially

reduce the likelihood that Defendants’ competitive incentives will be affected by Geisinger’s

partial ownership, and preserve Defendants’ incentives to compete with each other on the price,

quality, and availability of services.

       C.      Prohibitions Against Sharing Competitively Sensitive Information

       The Collaboration Agreement would have provided the potential for increased

coordination between Geisinger and Evangelical arising from the sharing of sensitive, forward-

looking confidential information about Evangelical’s plans to compete with Geisinger. The

proposed Final Judgment requires that the provisions in the Collaboration Agreement that would

have provided Geisinger with the ability to access Evangelical’s competitively sensitive

information be eliminated in order to prevent Defendants from coordinating with one another

using that information. Paragraph IV.G. of the proposed Final Judgment prohibits the

Defendants from providing each other with non-public information, including any information
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about strategic projects being considered by either Defendant. It also prevents Defendants from

having access to each other’s financial records. By preventing Defendants from sharing this

information, this provision decreases the possibility of anticompetitive coordination between

Defendants and helps maintain their incentives to compete with one another. This provision,

however, allows Defendants to exchange non-public information that is necessary for the care

and treatment of patients. In addition, Paragraph IV.B.5. prohibits Defendants from exercising

or maintaining any rights of first offer and first refusal that would allow Geisinger to receive

advance notice about Evangelical’s competitive plans through exercising such a right.

       E.      Permitted Conduct

       Paragraph V.A. of the proposed Final Judgment permits Evangelical to retain the $20.3

million Geisinger already provided to Evangelical, defined in the proposed Final Judgment as the

Existing Financial Payment, but only for the purpose of expending it on Evangelical’s PRIME

patient room improvement project ($17 million) and to sponsor the Lewisburg YMCA at the

Miller Center in Lewisburg, Pennsylvania (approximately $3.3 million). These projects will not

impede competition between the parties and will benefit the community.

       Paragraph V.B. of the proposed Final Judgment permits Geisinger to provide certain

information technology systems and support to Evangelical at a discounted rate to enable

Evangelical to upgrade its electronic health records systems. The proposed Final Judgment also

permits Geisinger to provide Evangelical access to various back office software systems at

commercially reasonable rates. Evangelical has been unable to accomplish such upgrades on its

own because of its status as a small independent community hospital. Permitting Evangelical to

obtain this electronic medical records upgrade and related support from Geisinger at a discount

will benefit patients in central Pennsylvania and promote the adoption of health information
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technology to improve the delivery of care to patients. Geisinger’s provision of upgraded health

records software and other support software to Evangelical is unlikely to prevent Evangelical

from collaborating with other healthcare providers. The requirement in Paragraph VII.A. that

Defendants implement and maintain a firewall will prevent them from sharing competitively

sensitive information.

       F.      Antitrust Compliance Program and Firewall

       Defendants are required to institute an antitrust compliance program to ensure their

compliance with the Final Judgment and the antitrust laws. Under Section VI of the proposed

Final Judgment, each Defendant must create an antitrust compliance program that is satisfactory

to the United States to ensure that Defendants comply with the Final Judgment.

       Defendants must designate an Antitrust Compliance Officer who is responsible for

implementing training and antitrust compliance programs and ensuring compliance with the

Final Judgment. Among other duties, each Antitrust Compliance Officer will be required to

distribute copies of the Final Judgment to each of Defendants’ respective management, among

others, and to ensure that relevant training is provided to each Defendants’ management as well

as individuals with responsibility over Defendants’ information technology systems. Defendants

are each required to certify compliance with the Final Judgment and the requirements of the

antitrust compliance programs annually on the anniversary of the entry of the Final Judgment.

       Under Section VII, Defendants are required to implement and maintain a firewall to

prevent competitively sensitive information from being disclosed in the course of Geisinger’s

provision of electronic medical records and other IT systems and services to Evangelical.

Defendants must provide their compliance plan for the firewall to the United States for approval,



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and the United States maintains the right to seek the Court’s determination as to sufficiency of

the Defendants’ proposed compliance plan for the firewall.

        IV.    REMEDIES AVAILABLE TO POTENTIAL PRIVATE LITIGANTS

        Section 4 of the Clayton Act, 15 U.S.C. § 15, provides that any person who has been

injured as a result of conduct prohibited by the antitrust laws may bring suit in federal court to

recover three times the damages the person has suffered, as well as costs and reasonable

attorneys’ fees. Entry of the proposed Final Judgment neither impairs nor assists the bringing of

any private antitrust damage action. Under the provisions of Section 5(a) of the Clayton Act, 15

U.S.C. § 16(a), the proposed Final Judgment has no prima facie effect in any subsequent private

lawsuit that may be brought against Defendants.

   V.      PROCEDURES AVAILABLE FOR MODIFICATION OF THE PROPOSED
                           FINAL JUDGMENT

        The United States and Defendants have stipulated that the proposed Final Judgment may

be entered by the Court after compliance with the provisions of the APPA, provided that the

United States has not withdrawn its consent. The APPA conditions entry upon the Court’s

determination that the proposed Final Judgment is in the public interest.

        The APPA provides a period of at least sixty days preceding the effective date of the

proposed Final Judgment within which any person may submit to the United States written

comments regarding the proposed Final Judgment. Any person who wishes to comment should

do so within sixty days of the date of publication of this Competitive Impact Statement in the

Federal Register, or the last date of publication in a newspaper of the summary of this

Competitive Impact Statement, whichever is later. All comments received during this period

will be considered by the U.S. Department of Justice, which remains free to withdraw its consent

to the proposed Final Judgment at any time before the Court’s entry of the Final Judgment. The
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comments and the response of the United States will be filed with the Court. In addition,

comments and the United States’ responses will be published in the Federal Register unless the

Court agrees that the United States instead may publish them on the U.S. Department of Justice,

Antitrust Division’s internet website.

       Written comments should be submitted to:

                       Eric D. Welsh
                       Chief, Healthcare and Consumer Products Section
                       Antitrust Division
                       U.S. Department of Justice
                       450 Fifth Street NW, Suite 4100
                       Washington, D.C. 20530

       The proposed Final Judgment provides that the Court retains jurisdiction over this action,

and the parties may apply to the Court for any order necessary or appropriate for the

modification, interpretation, or enforcement of the Final Judgment.

           VI.     ALTERNATIVES TO THE PROPOSED FINAL JUDGMENT

       As an alternative to the proposed Final Judgment, the United States considered a full trial

on the merits challenging the partial acquisition. The United States could have continued this

litigation and sought preliminary and permanent injunctions against Geisinger’s acquisition of

partial ownership of Evangelical and the accompanying entanglements in the Transaction. The

United States is satisfied, however, that the relief described in the proposed Final Judgment will

remedy the anticompetitive effects alleged in the Complaint, preserving competition in the

market for inpatient general acute-care services in the six-county area in Pennsylvania identified

in the Complaint. Thus, the proposed Final Judgment achieves all or substantially all of the

relief the United States would have obtained through litigation, but avoids the time, expense, and

uncertainty of a full trial on the merits of the Complaint.

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 VII.    STANDARD OF REVIEW UNDER THE APPA FOR THE PROPOSED FINAL
                             JUDGMENT

        The Clayton Act, as amended by the APPA, requires that proposed consent judgments in

antitrust cases brought by the United States be subject to a sixty-day comment period, after

which the Court shall determine whether entry of the proposed Final Judgment “is in the public

interest.” 15 U.S.C. § 16(e)(1). In making that determination, the Court, in accordance with the

statute as amended in 2004, is required to consider:

        (A)     the competitive impact of such judgment, including termination of alleged
        violations, provisions for enforcement and modification, duration of relief sought,
        anticipated effects of alternative remedies actually considered, whether its terms
        are ambiguous, and any other competitive considerations bearing upon the
        adequacy of such judgment that the court deems necessary to a determination of
        whether the consent judgment is in the public interest; and

        (B)     the impact of entry of such judgment upon competition in the relevant
        market or markets, upon the public generally and individuals alleging specific
        injury from the violations set forth in the complaint including consideration of the
        public benefit, if any, to be derived from a determination of the issues at trial.

15 U.S.C. § 16(e)(1)(A) & (B). In considering these statutory factors, the Court’s inquiry is

necessarily a limited one as the government is entitled to “broad discretion to settle with the

defendant within the reaches of the public interest.” United States v. Microsoft Corp., 56 F.3d

1448, 1461 (D.C. Cir. 1995); United States v. U.S. Airways Grp., Inc., 38 F. Supp. 3d 69, 75

(D.D.C. 2014) (explaining that the “court’s inquiry is limited” in Tunney Act settlements);

United States v. InBev N.V./S.A., No. 08-1965 (JR), 2009 U.S. Dist. LEXIS 84787, at *3 (D.D.C.

Aug. 11, 2009) (noting that a court’s review of a consent judgment is limited and only inquires

“into whether the government’s determination that the proposed remedies will cure the antitrust

violations alleged in the complaint was reasonable, and whether the mechanism to enforce the

final judgment are clear and manageable”).

        As the U.S. Court of Appeals for the District of Columbia Circuit has held, under the
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APPA a court considers, among other things, the relationship between the remedy secured and

the specific allegations in the government’s complaint, whether the proposed Final Judgment is

sufficiently clear, whether its enforcement mechanisms are sufficient, and whether it may

positively harm third parties. See Microsoft, 56 F.3d at 1458-62. With respect to the adequacy

of the relief secured by the proposed Final Judgment, a court may not “make de novo

determination of facts and issues.” United States v. W. Elec. Co., 993 F.2d 1572, 1577 (D.C. Cir.

1993) (quotation marks omitted); see also Microsoft, 56 F.3d at 1460–62; United States v. Alcoa,

Inc., 152 F. Supp. 2d 37, 40 (D.D.C. 2001); United States v. Enova Corp., 107 F. Supp. 2d 10, 16

(D.D.C. 2000); InBev, 2009 U.S. Dist. LEXIS 84787, at *3. Instead, “[t]he balancing of

competing social and political interests affected by a proposed antitrust consent decree must be

left, in the first instance, to the discretion of the Attorney General.” W. Elec. Co., 993 F.2d at

1577 (quotation marks omitted). “The court should bear in mind the flexibility of the public

interest inquiry: the court’s function is not to determine whether the resulting array of rights and

liabilities is one that will best serve society, but only to confirm that the resulting settlement is

within the reaches of the public interest.” Microsoft, 56 F.3d at 1460 (quotation marks omitted);

see also United States v. Deutsche Telekom AG, No. 19-2232 (TJK), 2020 WL 1873555, at *7

(D.D.C. Apr. 14, 2020). More demanding requirements would “have enormous practical

consequences for the government’s ability to negotiate future settlements,” contrary to

congressional intent. Id. at 1456. “The Tunney Act was not intended to create a disincentive to

the use of the consent decree.” Id.

        The United States’ predictions about the efficacy of the remedy are to be afforded

deference by the Court. See, e.g., Microsoft, 56 F.3d at 1461 (recognizing courts should give

“due respect to the Justice Department’s . . . view of the nature of its case”); United States v. Iron

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Mountain, Inc., 217 F. Supp. 3d 146, 152–53 (D.D.C. 2016) (“In evaluating objections to

settlement agreements under the Tunney Act, a court must be mindful that [t]he government

need not prove that the settlements will perfectly remedy the alleged antitrust harms[;] it need

only provide a factual basis for concluding that the settlements are reasonably adequate remedies

for the alleged harms.” (internal citations omitted)); United States v. Republic Servs., Inc., 723 F.

Supp. 2d 157, 160 (D.D.C. 2010) (noting “the deferential review to which the government’s

proposed remedy is accorded”); United States v. Archer-Daniels-Midland Co., 272 F. Supp. 2d

1, 6 (D.D.C. 2003) (“A district court must accord due respect to the government’s prediction as

to the effect of proposed remedies, its perception of the market structure, and its view of the

nature of the case.”). The ultimate question is whether “the remedies [obtained by the Final

Judgment are] so inconsonant with the allegations charged as to fall outside of the ‘reaches of the

public interest.’” Microsoft, 56 F.3d at 1461 (quoting W. Elec. Co., 900 F.2d at 309).

       Moreover, the Court’s role under the APPA is limited to reviewing the remedy in

relationship to the violations that the United States has alleged in its complaint, and does not

authorize the Court to “construct [its] own hypothetical case and then evaluate the decree against

that case.” Microsoft, 56 F.3d at 1459; see also U.S. Airways, 38 F. Supp. 3d at 75 (noting that

the court must simply determine whether there is a factual foundation for the government’s

decisions such that its conclusions regarding the proposed settlements are reasonable); InBev,

2009 U.S. Dist. LEXIS 84787, at *20 (“[T]he ‘public interest’ is not to be measured by

comparing the violations alleged in the complaint against those the court believes could have, or

even should have, been alleged.”). Because the “court’s authority to review the decree depends

entirely on the government’s exercising its prosecutorial discretion by bringing a case in the first

place,” it follows that “the court is only authorized to review the decree itself,” and not to

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“effectively redraft the complaint” to inquire into other matters that the United States did not

pursue. Microsoft, 56 F.3d at 1459-60.

       In its 2004 amendments to the APPA, Congress made clear its intent to preserve the

practical benefits of using consent judgments proposed by the United States in antitrust

enforcement, Pub. L. 108-237, § 221, and added the unambiguous instruction that “[n]othing in

this section shall be construed to require the court to conduct an evidentiary hearing or to require

the court to permit anyone to intervene,” 15 U.S.C. § 16(e)(2). See also U.S. Airways, 38 F.

Supp. 3d at 76 (indicating that a court is not required to hold an evidentiary hearing or to permit

intervenors as part of its review under the Tunney Act). This language explicitly wrote into the

statute what Congress intended when it first enacted the Tunney Act in 1974. As Senator

Tunney explained: “[t]he court is nowhere compelled to go to trial or to engage in extended

proceedings which might have the effect of vitiating the benefits of prompt and less costly

settlement through the consent decree process.” 119 Cong. Rec. 24,598 (1973) (statement of

Sen. Tunney). “A court can make its public interest determination based on the competitive

impact statement and response to public comments alone.” U.S. Airways, 38 F. Supp. 3d at 76

(citing Enova Corp., 107 F. Supp. 2d at 17).

                          VIII. DETERMINATIVE DOCUMENTS

       The only determinative documents or materials within the meaning of the APPA that

were considered by the United States in formulating the proposed Final Judgment are the

Collaboration Agreement, dated February 1, 2019, and the Amended and Restated Collaboration

Agreement, dated February 18, 2021.




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Dated: March 3, 2021                  Respectfully submitted,
                                      PLAINTIFF UNITED STATES OF
                                      AMERICA


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                                CERTIFICATE OF SERVICE

       I, Natalie Melada, hereby certify that on March 3, 2021, I electronically filed the

foregoing Competitive Impact Statement through the Court’s CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and that service will be accomplished by

the CM/ECF system.



                                                     /s/ Natalie Melada
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